This is a material alteration of the note. Suppose it were given on a condition known to the first subscribing witness, and then a suit were commenced, and the second subscribing witness summoned for the plaintiff to prove it. He may not know anything of the condition, being not the witness called by the parties to attest. Of course, he will prove the note, and the plaintiff will recover, notwithstanding the condition.
The jury, however, found for the plaintiff, and TAYLOR, J., being moved for a new trial, refused it on the ground that the verdict was according to the equity of the case. The motion was opposed on the ground that this was a new trial, and that a second new trial should not be granted against two concurring verdicts.
NOTE. — As to the first point, see contra Blackwell v. Lane, 20 N.C. 113. Upon the other point, see Manning v. Brickell, post, 133; Billersv. Ragan, 2 N.C. 13, and the cases referred to in the note. See, alsoGoodman v. Smith, 15 N.C. 450; Bank v. Pugh, 7 N.C. 389; Terrell v.Wiggins, 23 N.C. 172. *Page 131 